443 F.2d 75
    Johnny Arthur NELSON, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.No. 30408 Summary Calendar.**Rule 18, 5 Cir. See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 25, 1971.
    
      Johnny Arthur Nelson, pro se.
      John W. Stokes, Jr., U.S. Atty., Allen I. Hirsch, Richard H. Still, Jr., Asst. U.S. Attys., Atlanta, Ga., for respondent-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Nelson, while serving the remainder of his federal sentence as a mandatory release violator, filed a habeas corpus petition in the District Court seeking credit on his sentence for the time he spent on parole.  He also challenged the validity of his parole revocation on the ground that he was denied counsel at his parole revocation hearing, though he was an indigent and had requested counsel.  The District Court denied relief, and Nelson appealed.  Thereafter an affidavit by the Administrative Assistant of the United States Penitentiary at Atlanta, Georgia was filed in this Court certifying that Nelson was released from federal custody on April 30, 1971.  Since Nelson is no longer incarcerated by virtue of the challenged parole revocation proceedings, the issues presented upon this appeal are moot.
    
    
      2
      Appeal dismissed.
    
    